                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

OCADO INNOVATION LTD. and
OCADO SOLUTIONS LTD.,

                Plaintiffs,

          v.                                    Case No.: 1:21-cv-00041-JL

AUTOSTORE AS and                                Honorable Joseph LaPlante
AUTOSTORE SYSTEM INC.,

                Defendants.


      AUTOSTORE’S ASSENTED TO MOTION TO SEAL EXHIBITS 1 AND 9 TO
       AUTOSTORE’S MOTION TO PARTIALLY STRIKE PLAINTIFFS’ FIRST
        SUPPLEMENTAL PRELIMINARY INFRINGEMENT CONTENTIONS

       Defendants AutoStore AS and AutoStore System Inc. (“collectively, “AutoStore’), by and

through their undersigned counsel, moves to file under seal Exhibits 1 and 9 to AutoStore’s Motion

to Partially Strike Plaintiffs’ First Supplemental Preliminary Infringement Contentions (“Motion

to Strike”). Defendants state as follows:

       1.      Exhibits 1 and 9 contain AutoStore’s confidential information about the technical

operation of its products, and were designated as Confidential Business Information Subject to

Protective Order and Confidential Source Code—Attorney’s Eyes Only Information pursuant to

the protective order entered in this case (Dkt. No. 90). Accordingly, Exhibits 1 and 9 should be

filed under seal.

       2.      Plaintiffs Ocado Innovation Ltd. and Ocado Solutions Ltd. Do not oppose this

motion.
       3.         Local Rule 7.1(a): No memorandum of law in support of this motion is necessary

because of the nature of the relief sought, and because the relief sought is within the sound

discretion of the Court.

       4.         Local Rule 7.1(c): AutoStore’s counsel met and conferred with Ocado’s counsel

regarding the issues raised by this Motion by way of written correspondence.

       5.         Local Rule 7.1(d): Defendants do not believe oral argument on this Motion is

necessary.

       WHEREFORE, Defendants respectfully request that this Honorable Court:

             A.    Order that Exhibits 1 and 9 to AutoStore’s Motion to Partially Strike Plaintiffs’

                   First Supplemental Preliminary Infringement Contentions be filed under seal.




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Dated: June 1, 2022       Respectfully submitted,

                          AUTOSTORE SYSTEM INC. and
                          AUTOSTORE AS,

                          By their attorneys,

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                                CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants on this 1st day of June,

2022.

                                                     /s/ Robert R. Lucic
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